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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                 Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                       Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                              Plaintiff,

         v.                                      Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

                     STIPULATED ORDER CONTINUING HEARINGS

         On September 20, 2021, the Court entered its Order Referring Adversary Proceeding to

Alternative Dispute Resolution Program (Dkt. No. 30). The parties participated in mediation and

are continuing to hold settlement discussions. In furtherance of same, the parties have agreed to a

continuance of the hearings scheduled in these cases until the month of January 2022, to permit

them time to finalize a settlement, and if settlement is achieved, to seek court approval of same.

Accordingly, for good cause shown,

         IT IS HEREBY ORDERED that:

         1.     The hearing on the Motion of World Energy Innovations, LLC for an Order

Extending Time to Object to Entry of Discharge Under 11 U.S.C. Section 727(c)(1) (DN 52) is

hereby continued to January 6, 2022 at 10:00 a.m.
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        2.      The first pretrial conference is hereby continued to January 13, 2022 at 1:00 p.m.


 So stipulated by:

 /s/ Robert F. Wardrop, II
 Robert F. Wardrop, II
 Counsel for Defendant Larry A. Cluchey

 /s/ Steven M. Bylenga
 Steven M. Bylenga
 Counsel for Defendant Sherry D. Cluchey

 /s/ John C. Cannizzaro
 John C. Cannizzaro
 Counsel for Plaintiff World Energy Innovations, LLC

                                        END OF ORDER




IT IS SO ORDERED.

Dated November 29, 2021
